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Laguna Beach Businessman Sued for Alleged Sexual Harassment by Former
Employee
Employee sues former CEO for alleged sexual harassment and wrongful termination claims,
states litigant's counsel The Durst Firm.
Irvine, CA (PRWEB) October 07, 2016 -- Los Angeles based businesswoman Olivia Karpinski has filed suit
against University of California Irvine Trustee, and long time Oceana benefactor, Bruce Edward Cahill of
Laguna Beach, California for alleged sexual harassment, wrongful termination, and assault, among other
charges.

In her complaint, filed in the United States Federal Court in California’s Central District, Karpinski alleges that
Cahill knowingly and willfully subjected Karpinski to sexually charged interactions in order to intimidate
Karpinski.

In July of 2015 Karpinski was hired by Cahill as the Vice President of Sales for Pharma Pak, Inc., in Irvine,
California. Karpinski states in the complaint (case number 8:16-cv-00686-AG-DFM) that Cahill's alleged
misconduct took place over months during her employment.

Karpinski states in her complaint that Cahill repeatedly put her in positions where she was forced to remain
silent regarding Cahill’s behavior. She alleges that Cahill's pattern of lewd behavior was not limited to her
alone.

“I have been sued to be silenced," Karpinski states. Karpinski has filed over 200 pages of exhibits with her
complaint. Federal court records are public domain, and can be found at www.pacer.gov.

Karpinski has filed her case in the United States Federal Court, Central District of California, Case Number
8:16-cv-00686-AG-DFM.

The Irvine Police Department ongoing investigation into the Schedule 1 Drugs found at Cahill’s Irvine
manufacturing facility is Case Number 16-3257, headed by Detective Scott Grange.

Questions regarding this case can be sent to The Durst Firm c/o Media(at)cahillvedalat(dot)com




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